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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                             UNITED STATES DISTRICT COURT                             September 17, 2020
                              SOUTHERN DISTRICT OF TEXAS                               David J. Bradley, Clerk
                                  HOUSTON DIVISION

ASHLEY MACK,                                     §
                                                 §
        Plaintiff,                               §
VS.                                              §           CIVIL ACTION NO. 4:18-CV-1411
                                                 §
COMCAST HOLDINGS CORPORATION,                    §
                                                 §
        Defendant.                               §

                                    ORDER OF DISMISSAL


      In accordance with the Joint Stipulation filed February 20, 2020, it is hereby ORDERED

that this action be dismissed with prejudice, pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules

of Civil Procedure.




       It is so ORDERED. 09/17/2020.


                                                 ___________________________________
                                                 The Honorable Alfred H. Bennett
                                                 United States District Judge




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